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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                        11/19/2021


  Jacqueline Schmidt,

                          Plaintiff,
                                                                                   21-cv-3533 (AJN)
                  –v–
                                                                                        ORDER
  Ollie Holdings, LLC,

                          Defendant.



ALISON J. NATHAN, District Judge:

        In light of the fact that Defendant has failed to appear and the certificate of default

obtained by the Plaintiff, Plaintiff shall move for default judgment on or before December 9,

2021.

        SO ORDERED.



 Dated: November 18, 2021
        New York, New York
                                                   ____________________________________
                                                             ALISON J. NATHAN
                                                           United States District Judge




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